Case 2:18-cv-05933-PA-AS Document 16-1 Filed 07/30/18 Page 1 of 5 Page ID #:92



  1   ERICA J. VAN LOON - State Bar No. 227712
      evanloon@glaserweil.com
  2   GLASER WEIL FINK HOWARD
        AVCHEN & SHAPIRO LLP
  3   10250 Constellation Boulevard, 19th Floor
      Los Angeles, California 90067
  4   Telephone: (310) 553-3000
      Facsimile: (310) 556-2920
  5
      JOHN G. JACKSON (pro hac vice app. to be filed)
  6   jjackson@chamblisslaw.com
      CHAMBLISS, BAHNER & STOPHEL, P.C.
  7   Liberty Tower
      605 Chestnut Street, Suite 1700
  8   Chattanooga, TN 37450
      Telephone: (423) 756-3000
  9   Facsimile: (423) 265-9574
 10
      Attorneys for Defendant
 11   Deux Ron, Inc.
 12                           UNITED STATES DISTRICT COURT
 13                          CENTRAL DISTRICT OF CALIFORNIA
 14                                     WESTERN DIVISION
 15   WEBMAGIC VENTURES, LLC, a                         CASE NO.: 2:18-cv-5933-PA-AS
      California limited liability company,
 16                                                     Hon. Percy Anderson
                           Plaintiff,
 17                                                     DECLARATION OF ERIC
      v.                                                HENSLEY IN SUPPORT OF
 18                                                     DEFENDANTS' MOTION TO
      DEUX RON, INC., a Tennessee                       DISMISS PURSUANT TO
 19   corporation; RON HENSLEY, an                      FED.R.CIV.P. 12(B)(2), OR IN THE
      individual; and ERIC HENSLEY, an                  ALTERNATIVE, TO TRANSFER
 20   individual,                                       VENUE UNDER 28 U.S.C. §§ 1404,
                                                        1406, AND 1631
 21                        Defendants.
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      DECLARATION OF ERIC HENSLEY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PURSUANT TO
      FED.R.CIV.P. 12(B)(2), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406,
                                                 AND 1631
Case 2:18-cv-05933-PA-AS Document 16-1 Filed 07/30/18 Page 2 of 5 Page ID #:93



  1         I, Eric Hensley, declare as follows:
  2         1.     I am the vice president of Defendant Deux Ron, Inc. ("Deux Ron"). I am
  3   making this declaration in support of Defendants' Motion to Dismiss, or in the
  4   alternative, to Transfer Venue in the above-referenced matter. Unless otherwise
  5   stated, I have personal and first-hand knowledge of the facts set forth in this
  6   declaration, and I could and would testify competently to such facts if called as a
  7   witness.
  8         2.     Deux Ron is an entity organized and existing under the laws of the State
  9   of Tennessee with its principal place of business located in Gatlinburg, Tennessee.
 10         3.     Deux Ron owns and operates a family entertainment center ("FEC")
 11   located in Gatlinburg, Tennessee.
 12         4.     Deux Ron's FEC in Gatlinburg, Tennessee is the only physical location
 13   in the United States where Deux Ron offers goods and services.
 14         5.     Deux Ron's FEC provides entertainment services, namely an
 15   entertainment complex for amusement games, food, live performances and recreation,
 16   where every amusement game gives the participant e-tickets that can be redeemed for
 17   the ultimate goal of receiving prizes.
 18         6.     To the best of my knowledge, Deux Ron has never directed any of its
 19   marketing, advertising or promotional activities at residents of California.
 20         7.     To the best of my knowledge, Deux Ron has never done business in
 21   California in connection with the Arcadia™ mark.
 22         8.     With regard to "Illustration 1" described in Paragraph 9 of Plaintiff's
 23   Complaint, the screenshot of the business review page from www.yelp.com dated
 24   August 20, 2016 contains a comment from someone who claims to be a California
 25   resident. I have accessed the yelp.com website and have determined that, in order to
 26   post a review, the person creates a profile, wherein he or she inserts his/her city and
 27   state of residence. Based on my experience with yelp.com, no one checks whether
 28   the reviewer actually resides in the city or state listed. Therefore, "Illustration 1" does
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      DECLARATION OF ERIC HENSLEY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PURSUANT TO
      FED.R.CIV.P. 12(B)(2), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406,
                                                 AND 1631
Case 2:18-cv-05933-PA-AS Document 16-1 Filed 07/30/18 Page 3 of 5 Page ID #:94



  1   not necessarily consist of a review by a person who actually resides in California.
  2           9.    Even if the reviewer in "Illustration 1" were a California resident, the
  3   only place he could have received services from Deux Ron was by visiting Deux
  4   Ron's FEC in Gatlinburg, Tennessee.
  5           10.   Although Arcadia™ Play Cards can be bought online at Deux Ron's
  6   website, www.gatlinburgarcade.com, they are never sent outside of Tennessee but
  7   instead must be picked up at the Space Needle ticket office in Gatlinburg, Tennessee
  8   and can only be used to access services at Deux Ron's Gatlinburg, Tennessee FEC.
  9           11.   Over the past ten years, Deux Ron has sold only one Arcadia™ Play
 10   Card online to a California resident, out of a total of 4,607 online orders (i.e., .02%),
 11   based on a review of Deux Ron's records. As explained above, Deux Ron would have
 12   furnished the Play Card to the customer in Gatlinburg, Tennessee, and it would never
 13   have been sent to California or elsewhere.
 14           12.   Deux Ron has been using the mark ARCADIA continuously in the East
 15   Tennessee area and on the internet since at least 2008.
 16           13.   Plaintiff did not apply to register its mark, PENNY ARCADIA, until
 17   2010.
 18           14.   According to documents filed by Plaintiff that are available on the
 19   United States Patent & Trademark Office's website, Plaintiff does not allege a first
 20   use in commerce of the mark PENNY ARCADIA for "providing amusement
 21   facilities" or "rental of amusement machines and apparatus" until December 1, 2010,
 22   and did not apply to register the mark for such goods and services until 2010. See
 23   U.S. trademark registration number 3998997, issued July 19, 2011, copy attached as
 24   Exhibit A.
 25           15.   To the best of my knowledge, neither Deux Ron, Ron Hensley nor I
 26   knew of Plaintiff's existence prior to the time Deux Ron filed its application to
 27   register the mark ARCADIA as a trademark in the United States Patent and
 28   Trademark Office in mid-2017.
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      DECLARATION OF ERIC HENSLEY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PURSUANT TO
      FED.R.CIV.P. 12(B)(2), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406,
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Case 2:18-cv-05933-PA-AS Document 16-1 Filed 07/30/18 Page 4 of 5 Page ID #:95



  1         16.     Until Plaintiff filed its Opposition to Deux Ron's application to register
  2   the ARCADIA mark toward the end of 2017, to the best of my knowledge, neither
  3   Deux Ron, Ron Hensley nor I knew that Plaintiff owns any domain names that
  4   include the word "Arcadia."
  5         17.     Deux Ron only uses the mark ARCADIA in connection with services
  6   that are performed in Gatlinburg, Tennessee.
  7         18.     Deux Ron does not provide any services in the State of California.
  8         19.     Deux Ron does not have an office in California.
  9         20.     Deux Ron does not own or lease any real property in California.
 10         21.     Deux Ron does not maintain any bank accounts in California.
 11         22.     Deux Ron is not registered to do business as a foreign corporation in
 12   California.
 13         23.     Deux Ron does not have an agent for the service of process in California.
 14         24.     Deux Ron has not registered any marks in California.
 15         25.     Deux Ron does not hold meetings of its officers, directors or managers in
 16   California.
 17         26.     I am a resident of Tennessee.
 18         27.     I, as an individual, have never conducted business in California, have
 19   never advertised, marketed, promoted, offered to sell or sold goods or services in
 20   California, and as an individual have never used the ARCADIA mark anywhere.
 21         28.     I neither own nor control any real or personal property in California.
 22         29.     I, as an individual, am not seeking trademark protection for any
 23   trademark, nor have I ever sought such protection.
 24         30.     I have never visited the State of California.
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      DECLARATION OF ERIC HENSLEY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PURSUANT TO
      FED.R.CIV.P. 12(B)(2), OR IN THE ALTERNATIVE, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406,
                                                 AND 1631
Case 2:18-cv-05933-PA-AS Document 16-1 Filed 07/30/18 Page 5 of 5 Page ID #:96
